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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-refglobal="case:taherivbeallno24sc291november4,2024" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;
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 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Suzanne Taheri&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Christopher Beall&lt;/span&gt;&lt;/span&gt;, in his official capacity as &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Colorado Deputy Secretary of State&lt;/span&gt;&lt;/span&gt; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Jena Griswold&lt;/span&gt;&lt;/span&gt;, in her official capacity as &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Colorado Secretary of State&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondents&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 24SC291&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;November 4, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="278" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="278" data-sentence-id="295" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court
 of Appeals&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_295" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;Case No. 23CA501&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="335" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="335" data-sentence-id="351" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petition
 for Writ&lt;/span&gt; of Certiorari DENIED.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="397" class="ldml-paragraph no-indent mt-4"&gt;
 &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (MÁRQUEZ, SAMOUR)"&gt;&lt;span data-paragraph-id="397" data-sentence-id="414" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;CHIEF
 JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;MÁRQUEZ&lt;/span&gt;&lt;/span&gt; and JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;SAMOUR&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; would grant as to
 the following issue:&lt;/span&gt;
&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="506" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="506" data-sentence-id="522" class="ldml-sentence"&gt;Whether
 &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; of limitations for a publicly filed campaign
 financial disclosure can toll for &lt;span class="ldml-entity"&gt;a complainant&lt;/span&gt; for failure
 to discover the purported violation until presented to her
 for filing by a political activist.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
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